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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT BLUEFIELD

UNITED STATES OF AMERICA


v.                                   Criminal Case No. 1:13-00154-04


ANSEL WILLIAM PONDER

                      MEMORANDUM OPINION AND ORDER

     In Bluefield, on August 7, 2013, came the defendant Ansel

William Ponder, in person and by counsel, Michael R. Whitt, and

came the United States by Miller A. Bushong, III, Assistant

United States Attorney, for purposes of considering the

defendant’s plea of guilty to Count Thirty-Five of the

Indictment charging him with using a telephone to commit a drug

crime, in violation of Title 21, United States Code, Section

843(b).   Peggy Adams appeared on behalf of the United States

Probation Department.

     For reasons appearing before the court during the change of

plea hearing, the court granted an oral motion by the United

States to continue the defendant’s plea hearing generally.                 The

court finds that the time from the United States’ oral motion to

continue until trial is excludable for purposes of the Speedy

Trial Act.    First, such time is excludable as delay under 18

U.S.C. § 3161(h)(1)(G) because the court, after hearing from


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both sides at defendant’s change of plea hearing, has taken a

proposed plea agreement in this case under consideration.

Alternatively, such time is also excludable under 18 U.S.C. §

3161(h)(6) so long as the delay is reasonable because the court

previously granted a continuance for good cause to one of

defendant’s co-defendants in this case, thus delaying the co-

defendant’s trial date.      See Doc. No. 290 (granting co-defendant

a continuance so that a new attorney for co-defendant could be

appointed and have time to prepare co-defendant’s case).

     The Clerk is directed to send a copy of this Order to

counsel of record, to the United States Marshal for the Southern

District of West Virginia, and to the Probation Office of this

court.

     It is so ORDERED on this 15th day of August, 2013.

                                     ENTER:


                                     David A. Faber
                                     Senior United States District Judge




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